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                                Nebraska Court of A ppeals A dvance Sheets
                                     25 Nebraska A ppellate R eports
                                           IN RE INTEREST OF MICHAEL N.
                                                Cite as 25 Neb. App. 476



                                    In   re I nterest of    Michael N.,      a child
                                              under    18   years of age.
                           State of Nebraska, appellee and cross-appellee,
                              v. H eather N., appellant, and Robert N.,
                                     appellee and cross-appellant.
                                                      ___ N.W.2d ___

                                          Filed January 23, 2018.   No. A-17-218.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                2.	 Constitutional Law: Due Process. The determination of whether the
                    procedures afforded an individual comport with constitutional require-
                    ments for procedural due process presents a question of law.
                3.	 Appeal and Error. On a question of law, an appellate court reaches a
                    conclusion independently of the court below.
                4.	 Juvenile Courts: Parental Rights: Notice. In a juvenile court case,
                    following the issuance of an ex parte order for temporary immediate
                    custody, a prompt detention hearing is required in order to protect
                    a parent against the risk of an erroneous deprivation of his or her
                    parental interests. Because parents have the right to a prompt detention
                    hearing, they must also have a right to receive notice of that deten-
                    tion hearing.
                5.	 Judicial Notice: Records. When a fact is judicially noticed by a trial
                    court, papers requested to be judicially noticed must be marked, identi-
                    fied, and made a part of the record. In addition, testimony must be tran-
                    scribed, properly certified, marked, and made a part of the record.
                6.	 Juvenile Courts: Parental Rights: Notice. In a juvenile court case,
                    if a detention hearing is held promptly, but without the parent’s pres-
                    ence and without any evidence of actual or constructive notice of
                    the hearing to the parent, then the parent’s right to such a hearing is
                    meaningless.
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         Nebraska Court of A ppeals A dvance Sheets
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                 IN RE INTEREST OF MICHAEL N.
                      Cite as 25 Neb. App. 476
   Appeal from the Separate Juvenile Court of Douglas
County: Elizabeth Crnkovich, Judge. Reversed and remanded
for further proceedings.

  Karen S. Nelson and Alexis S. Mullaney, of Carlson &amp;
Burnett, L.L.P., for appellant.

  Donald W. Kleine, Douglas County Attorney, and Jennifer
C. Clark for appellee State of Nebraska.

   Kristina B. Murphree, of Marks, Clare &amp; Richards, L.L.C.,
for appellee Robert N.

  Pirtle, R iedmann, and A rterburn, Judges.

  A rterburn, Judge.
                      INTRODUCTION
   Heather N. appeals and Robert N. cross-appeals from
an order of the juvenile court, which order granted the
Department of Health and Human Services (the Department)
continued custody of their son, Michael N., and provided
that placement of Michael was to be outside of Heather and
Robert’s home. Both Heather and Robert challenge, among
other things, the juvenile court’s decision to enter its order
granting the Department continued custody of Michael when
they were not provided notice of the detention hearing. Upon
our de novo review, we conclude that Heather and Robert
had a right to notice of the detention hearing. Because there
was no evidence that they were provided such notice or, at
least, that such notice was attempted, we reverse that part
of the juvenile court’s order which awarded the Department
continued custody of Michael and remand the cause for fur-
ther proceedings.

                      BACKGROUND
  The juvenile court proceedings below involve Heather,
Robert, and their son, Michael, who was born in December
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         Nebraska Court of A ppeals A dvance Sheets
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                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
2011. On February 2, 2017, the State filed both a petition
and a supplemental petition alleging that Michael was a
child within the meaning of Neb. Rev. Stat. § 43-247(3)(a)
(Reissue 2016) due to the faults or habits of Heather and
Robert. Specifically, the pleadings alleged that Heather and
Robert had failed to provide Michael with proper parental
care, support, and supervision; had failed to provide Michael
with safe, stable, and appropriate housing; and had failed to
place themselves in a position to parent Michael. The plead-
ings also alleged that termination of Heather’s and Robert’s
parental rights was warranted pursuant to Neb. Rev. Stat.
§ 43-292(1), (2), and (9) (Reissue 2016) and that such termi-
nation was in Michael’s best interests. Finally, the pleadings
alleged that pursuant to Neb. Rev. Stat. § 43-283.01 (Reissue
2016), reasonable efforts to reunify Michael with his parents
were not required.
   Also on February 2, 2017, the State filed ex parte motions
requesting that the juvenile court place Michael in the immedi-
ate custody of the Department and outside his parents’ home.
The juvenile court granted the State’s request and placed
Michael in the temporary custody of the Department in a fos-
ter home. The court scheduled a detention hearing to review
Michael’s custody and placement for February 7. On February
6, the day prior to the scheduled detention hearing, the court
appointed both Heather and Robert with counsel.
   On February 7, 2017, the detention hearing was held. Neither
Heather nor Robert appeared at the hearing. However, counsel
for both Heather and Robert appeared and made oral motions
to dismiss the petition and supplemental petition because nei-
ther Heather nor Robert had been properly served with notice
of the pleadings or with notice of the detention hearing. The
State conceded that Heather and Robert had not been provided
notice of the pleadings or of the detention hearing because
“the whereabouts of the parents [are] unknown.”
   The juvenile court denied the motions to dismiss the petition
and the supplemental petition. The court stated, “I do not know
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                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
of any pre-adjudication motion to dismiss under the Juvenile
Code or under the law.” The court also stated, “Notice and
serv­ice must occur before any adjudication. This is the protec-
tive custody hearing, which is often . . . a matter of immedi-
acy.” The court then, sua sponte, took judicial notice of a “pre-
vious docket, 16-1277 . . . and the fact that the whereabouts of
[the parents] are unknown.” The court indicated that it would
rule on the State’s request to continue its ex parte custody order
placing Michael in the custody of the Department and outside
of Heather and Robert’s home.
   The court asked the State to present evidence concerning
Michael’s custody and placement. In response, the State asked
the court to take judicial notice of the affidavit for removal.
The court agreed to take judicial notice of the affidavit, but
that affidavit was not offered into evidence. No other evi-
dence was offered at the detention hearing. The juvenile court
ordered that the Department be granted continued custody
of Michael with placement to exclude Heather and Robert’s
home. The court then scheduled the adjudication hearing for
April 26, 2017. The court ordered the State “to do their diligent
search if they cannot personally serve [the parents] and secure
service by publication as the law allows” prior to the scheduled
adjudication hearing.
   Heather appeals and Robert cross-appeals from the juvenile
court’s order.

                ASSIGNMENTS OF ERROR
   On appeal, Heather assigns four errors, which we con-
solidate and restate into the following three assertions: (1)
The juvenile court erred in failing to grant Heather’s motion
to dismiss the petition, (2) the juvenile court erred in ruling
on the State’s motion for continued custody when Heather had
not been served with notice of the detention hearing, and (3)
there was insufficient evidence presented to support the juve-
nile court’s order granting continued custody of Michael to
the Department.
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                 IN RE INTEREST OF MICHAEL N.
                      Cite as 25 Neb. App. 476
   On cross-appeal, Robert assigns five errors, which we con-
solidate and restate into the following two assertions: (1) The
juvenile court erred in failing to grant Robert’s motion to
dismiss the supplemental petition, and (2) the juvenile court
erred in ruling on the State’s motion for continued custody
when Robert had not been served with notice of the deten-
tion hearing.
                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches a conclusion independently of the juvenile
court’s findings. In re Interest of Carmelo G., 296 Neb. 805,
896 N.W.2d 902 (2017).
   [2,3] The determination of whether the procedures afforded
an individual comport with constitutional requirements for
procedural due process presents a question of law. Id. On a
question of law, an appellate court reaches a conclusion inde-
pendently of the court below. Id.                          ANALYSIS
                       Motions to Dismiss
   Heather asserts that the juvenile court erred in denying her
motion to dismiss the petition because she had not been prop-
erly served with that pleading prior to the detention hearing.
Likewise, Robert asserts that the juvenile court erred in deny-
ing his motion to dismiss the supplemental petition because he
had not been properly served with that pleading prior to the
detention hearing. Upon our review, we cannot say that the
juvenile court erred in denying the motions to dismiss.
   The State filed the petition and the supplemental petition
in the juvenile court on February 2, 2017. The detention hear-
ing was held 5 days later on February 7. At the detention
hearing, the State admitted that it had not yet served Heather
and Robert with a copy of the pleadings. Heather and Robert
argued to the juvenile court that the pleadings should be dis-
missed because of the failure to perfect service upon them.
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
They make similar arguments in their appeal and cross-appeal
to this court.
    The dismissal of the petition and supplemental petition was
not warranted due to a lack of service only 5 days after those
pleadings had been filed in the juvenile court. We note that
in civil actions, plaintiffs have 6 months in order to perfect
service on a defendant. See Neb. Rev. Stat. § 25-217 (Reissue
2016). While there is no specific length of time delineated in
the Nebraska Juvenile Code for the service of a petition, pre-
sumably the time allowed is more than 5 days.
    Given the short amount of time that passed between the
filings of the petition and supplemental petition and the deten-
tion hearing, it was reasonable for the juvenile court to deny
the motions to dismiss in order to give the State more time
to perfect service of the pleadings. In fact, after denying the
motions to dismiss, the court specifically instructed the State
to properly serve the parents prior to the adjudication hearing,
which was scheduled for less than 3 months after the detention
hearing. We would hope that the juvenile court’s admonition
would motivate the State to expeditiously seek service of the
petitions on the parents so as to avoid the need for further con-
tinuances in the case.
    Based upon the facts presented by this case, we cannot say
that the juvenile court erred in denying the motions to dismiss
so that the State could perfect service on the parents.
                 Notice of Detention Hearing
   Heather and Robert also assert that the juvenile court erred
in ruling on the State’s motion for continued custody when
neither of them had been served with notice of the detention
hearing. Upon our review, we find that Heather’s and Robert’s
assertions have merit.
   [4] The Nebraska Supreme Court has recently held that in
a juvenile court case, following the issuance of an ex parte
order for temporary immediate custody, “‘[a] prompt deten-
tion hearing is required in order to protect the parent against
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         Nebraska Court of A ppeals A dvance Sheets
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                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
the risk of an erroneous deprivation of his or her parental
interests.’” In re Interest of Carmelo G., 296 Neb. 805, 814,
896 N.W.2d 902, 908 (2017), quoting In re Interest of Mainor
T. &amp; Estela T., 267 Neb. 232, 674 N.W.2d 442 (2004). Stated
another way, a parent has a right to a prompt detention hearing
after the issuance of an ex parte order for temporary immedi-
ate custody. Because parents have the right to such a detention
hearing, they must also have a right to receive notice of that
detention hearing.
   In this case, at the February 7, 2017, detention hearing, the
State affirmatively indicated that it had not provided notice of
the hearing to Heather and Robert because their whereabouts
were unknown. The State did not, however, provide any evi-
dence by way of affidavit, or otherwise, to demonstrate that
it had made efforts to locate Heather and Robert or that those
efforts had been unsuccessful.
   [5] We note that the juvenile court sua sponte took judi-
cial notice of previous juvenile court proceedings to sup-
port its finding that the parents’ whereabouts were unknown.
However, nothing from this previous juvenile court case was
submitted into evidence, and thus, nothing from this previ-
ous case is included in our record on appeal. The Supreme
Court has held that when a fact is judicially noticed by a
trial court, papers requested to be judicially noticed must be
marked, identified, and made a part of the record. See, e.g., In
re Estate of Radford, 297 Neb. 748, 901 N.W.2d 261 (2017).
In addition, testimony must be transcribed, properly certified,
marked, and made a part of the record. Id. The trial court’s
ruling should state and describe what it is the court is judi-
cially noticing, otherwise a meaningful review of its decision
is impossible. Id.   Here, the juvenile court did not precisely indicate what
in the previous case file supported the notion that the par-
ents’ whereabouts were unknown despite any efforts to locate
them. While a court is permitted to take judicial notice of its
own records, this is only proper “‘“where the same matters
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
have already been considered and determined.”’” Id. at 758,
901 N.W.2d at 270, quoting In re Interest of N.M. and J.M.,
240 Neb. 690, 484 N.W.2d 77 (1992). Because the juvenile
court in this case did not specifically identify what it was
taking judicial notice of, we are simply unable to determine
exactly what the court was taking judicial notice of within
the previous case file. As a result, we are unable to determine
whether such judicial notice was proper and are left with no
evidence to support the juvenile court’s finding that Heather’s
and Robert’s whereabouts are unknown.
   Because Heather and Robert did not receive notice of the
detention hearing and because there is nothing in our record
to indicate that the State made any effort to provide notice
of the hearing, we conclude that they were denied their due
process right to notice of the detention hearing. The juve-
nile court should not have ruled on the State’s request for
continued custody of Michael outside of his parents’ pres-
ence and in the absence of any evidence that the State had
made diligent efforts to locate the parents and notify them of
the hearing.
   Had the State presented evidence at the detention hearing
which made an affirmative record that efforts to locate, serve,
or otherwise give notice of the hearing to the parents were
ongoing, the juvenile court would have had a basis to enter a
further order of custody which would allow the State additional
time to locate the parents. Here, not only was there no such
evidence properly admitted before the court, but the court, in
granting continued custody to the Department, ordered that no
further hearing take place for nearly 3 months. The next sched-
uled hearing was an adjudication hearing.
   While we recognize that counsel was appointed for Heather
and Robert on the day prior to the detention hearing and that
counsel did appear on their behalf at the hearing, we also rec-
ognize that counsel had little, if any, opportunity to contact or
converse with their clients. This, coupled with the complete
lack of evidence adduced as to what, if any, efforts had been
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         Nebraska Court of A ppeals A dvance Sheets
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                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
made to locate the parents, rendered the February 7, 2017,
hearing more akin to an ex parte hearing than one in which
the parents were present. Consequently, we find that had
evidence been adduced to support continuing custody with
the Department, the juvenile court should have scheduled a
further detention hearing within a reasonable time pursuant to
the parameters discussed in In re Interest of Carmelo G., 296
Neb. 805, 896 N.W.2d 902 (2017), and In re Interest of R.G.,
238 Neb. 405, 470 N.W.2d 780 (1991), disapproved on other
grounds, O’Connor v. Kaufman, 255 Neb. 120, 582 N.W.2d
350 (1998), rather than scheduling a subsequent adjudication
hearing nearly 3 months later.
   Accordingly, we reverse the juvenile court’s order continu-
ing the Department’s custody of Michael and remand the cause
for further proceedings consistent with this opinion. The juve-
nile court’s prior order of temporary custody shall remain in
effect for a period of only 10 days following the issuance of
the mandate from this court. If the parents have not received
notice of the subsequently set hearing, the State must present
evidence of its efforts to serve and to notify both Heather and
Robert of the hearing’s occurrence. The juvenile court shall
continue the foregoing procedure, including holding contin-
ued detention hearings periodically in compliance with the
guidelines described in In re Interest of Carmelo G., supra,
and In re Interest of R.G., supra, until such time as either
service is perfected or actual notice of a scheduled hearing
is accomplished.
   We recognize the State’s arguments with regard to the
practicality of obtaining service or providing notice to par-
ents who may have absented themselves from the jurisdiction.
However, the State has not cited to any authority which would
justify anything less than diligent efforts to locate and serve
the parents with proper notice of the proceedings. The statutes
clearly identify the procedures available for service, including
publication if all other efforts at finding the parents fail. Due
process requires these efforts. While holding frequent hearings
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              25 Nebraska A ppellate R eports
                  IN RE INTEREST OF MICHAEL N.
                       Cite as 25 Neb. App. 476
on continued detention during the interim period may appear
burdensome, such hearings necessarily safeguard the parents’
due process rights.
   [6] We find that implicit in a parent’s right to a prompt
detention hearing is the parent’s right to notice of such a hear-
ing. If a detention hearing is held promptly, but without the
parent’s presence and without any evidence of actual or con-
structive notice of the hearing to the parent, then the parent’s
right to such a hearing is meaningless. The State must make
diligent efforts to promptly notify the parents of the occurrence
of a detention hearing so that the hearing can be held within a
reasonable time under the unique facts of each case.
                  Sufficiency of Evidence to
                 Support Continued Custody
   Given our finding that the juvenile court erred in conduct-
ing the detention hearing under the facts of this case and our
reversal of the continued custody order, we need not address
Heather’s final assignment of error concerning the sufficiency
of the evidence to support the juvenile court’s decision to
award continuing custody of Michael to the Department.
                        CONCLUSION
   We reverse that portion of the juvenile court’s order grant-
ing the Department continued custody of Michael and remand
the cause for further proceedings. The juvenile court shall
promptly hold a new detention hearing where the parents are
present or where there is evidence of the State’s diligent, but
unsuccessful, efforts to locate the parents and notify them of
the hearing.
	R eversed and remanded for
	                                 further proceedings.
